        Case 2:25-mj-00991-PLD          Document 6       Filed 05/30/25     Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

                        v.                          Magistrate No. 25-991
                                                    [UNDER SEAL]
 EDWARD ARTHUR OWENS, JR.


                                           ORDER


               AND NOW, to wit, this 30th day of May, 2025, upon consideration of the Motion

for Arrest Warrant based upon a Criminal Complaint, heretofore filed by the United States of

America, it is hereby ORDERED that said Motion is GRANTED.

               It is further ORDERED that an Arrest Warrant shall issue for the apprehension of

defendant, EDWARD ARTHUR OWENS, JR.

               Bond shall be set by the United States Magistrate Judge.




                                                    ___________________________________
                                                    HONORABLE PATRICIA L. DODGE
                                                    UNITED STATES MAGISTRATE JUDGE



cc: Carl J. Spindler, Assistant United States Attorney
